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UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF NEW YORK
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Weihua Du,                                                            :            2:23-cv-06780-DG-ST
                               Plaintiff,          :
                                v.                                    :
Shalom Seglman; The Line DC Fund LLC; The Line :                                   NOTICE OF MOTION TO
DC Manager LLC; The Line DC Escrow LLC;                                            OPPOSE THE MOTION TO
Yucaipa U.S. Hospitality Partners, LLC; YAAF II                                    DISMISS THE AMENDED
Parallel (U.S. Hospitality Partners), Inc.; Adams                                  COMPLAINT
Morgan Managing Member LLC; Adams Morgan
Hotel Holdings LLC; Adams Morgan Hotel JV LLC;
Adam Morgan Hotel Members LLC; Adams Morgan
Hotel Owner LLC; Milou Chesapeake Regional
Center LLC; Yevgeny Samokhleb; Liu & Bitterman
PLLC,
                                           Defendants.                :
     – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – –X




        PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law, the exhibits annexed

thereto, and all the pleadings and proceedings herein, plaintiff Weihua Du (Ms. Du) will move this Court before

United States District Judge Diane Gujarati, Courtroom 4B South, at the United States Courthouse for the Eastern

District of New York located at 225 Cadman Plaza East, Brooklyn, New York 11201, on October 2, 2024, at 9:30

a.m., or as soon thereafter as counsel may be hard, for an Order: (a) pursuant to Fed. R. Civ. P. 12(b)(6) and 9(b),

deny the defendants Yevgeny Samokhleb and Liu & Bitterman PLLC’s (collectively, the “Attorney Defendants”)

motion to dismiss; and (b) granting to Ms. Du such other and further relief as the Court deems just and proper.


        PLEASE TAKE FURTHER NOTICE that, pursuant to the Order of the Judge Diane Gujarati dated

July 2, 2024, the Attorney Defendants shall serve reply papers, if any, on or before October 1, 2024.




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